Case 1:19-cr-00283-WFK Document 56 Filed 03/09/23 Page 1 of 7 PageID #: 183




 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 ____________________________________
                                     :
 UNITED STATES OF AMERICA            :
                                     :
          -against-                  : 19 Cr. 283 (WFK)
                                     :
 ADRIAN MATTEI                       :
                                     :
 ____________________________________:




          DEFENSE SENTENCING SUBMISSION




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Case 1:19-cr-00283-WFK Document 56 Filed 03/09/23 Page 2 of 7 PageID #: 184




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                                                       March 9, 2023


 By ECF
 Honorable William F. Kuntz II
 United States District Judge
 Eastern District of New York
 225 Cadman Plaza East
 Brooklyn, N.Y. 11201

                   Re:     United States v. Adrian Mattei
                           19 Cr. 283 (WFK)

 Dear Judge Kuntz:

         This letter is respectfully submitted on behalf of Adrian Mattei in advance of his
 sentencing scheduled for March 21, 2023 at 2:30 p.m. On or about June 26, 2019, Mr.
 Mattei was “writted” into the Eastern District where he was charged with distributing a
 controlled substance within 1,000 feet of a school in violation of Title 21 USC
 §841(a)(1), 841(b)(1)(C) and 860(a). He has been detained at the Metropolitan Detention
 Center ever since.1 On March 26, 2021, Mr. Mattei pled guilty as charged without a plea
 agreement. Due to well-documented disagreements amongst the parties concerning the
 correct U.S. Sentencing Guidelines range, a Fatico hearing was held before your Honor
 on January 30, 2023. Although much has been written already about the correct
 Guidelines range in this case, little has been said about Mr. Mattei himself and the other
 18 USC §3553(a) factors present in this case. Accordingly, the defense writes now to
 supplement the record with this important information.

         The Government submits that with the proposed guidelines enhancements, at an
 offense level of 14 and a criminal history category of VI, the correct guidelines range in
 this case is 37 to 46 months in prison. The defense on the other hand argues that no
 guidelines enhancements properly apply and at a total offense level of 9 and a CHC of
 VI, the correct guidelines range is 21 to 27 months’ imprisonment. Regardless of what
 the Court ultimately determines the correct guidelines range to be, nothing in this case
 warrants a sentence, as the government has argued, above the applicable guidelines.
 Moreover, if the Court were to conclude that Mattei’s prior conduct, as testified to at the

 1
     Approximately 45-months.
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Case 1:19-cr-00283-WFK Document 56 Filed 03/09/23 Page 3 of 7 PageID #: 185




 Fatico hearing, was somehow relevant to his conduct in this case, then the Court should
 also adjust Mattei’s sentence downward pursuant to U.S.S.G. §5K2.23 for the one-year
 sentence that he has already served on the New York State conviction for the same
 conduct.2

         Mr. Mattei appreciates the seriousness of his offense and continues to take full
 responsibility for his actions. Accordingly, for the reasons stated herein, Mr. Mattei
 respectfully requests that he be sentenced to 24-months, which is squarely within the
 applicable guidelines range of 21 to 27 months. Any sentence more than 24-months
 would be greater than necessary to satisfy the objectives of §3553(a)(2). In further
 support of the requested sentence, the following documents are attached hereto for the
 Court’s consideration:

           Exhibit A:       Character Letters

                            •    Doris Maldonado, sister
                            •    Edwin Mattei, brother
                            •    Ulysses Maldonado, brother
                            •    Nicole Clyne, prison advocate and actress

           Exhibit B:       MDC Certificates
                            •    Resume Writing
                            •    Relapse Prevention
                            •    Self Help: Anger Management
                            •    Self Help: Criminal Lifestyles
                            •    Financial-Modified Operations

           Exhibit C:       Bible Study
           Exhibit D:       Positive test for COVID-19 (2/04/2021)

            This defense submission is provided to assist the Court in determining a
     sentence which is sufficient, but not greater than necessary, to comply with the
     statutory directives set forth in 18 U.S.C. § 3553(a). As noted by the Supreme Court,
     "[h]ighly relevant - if not essential - to the selection of an appropriate sentence is the
     possession of the fullest information possible concerning the defendant’s life and
     characteristics." Williams v. New York, 337 U.S. 241, 246-247, 69 S. Ct. 1079
     (1949). This "ensures that the punishment will suit not merely the offense but the
     individual defendant as well." Wasman v. United States, 468 U.S. 559, 564, 104 S.

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   Mattei served six-months of a 12-month state sentence while he was in federal custody on this case.
 Accordingly, he will not receive any federal credit for the first six-months that he spent in federal custody
 after he was transferred in from state custody. Thus, if the Court were to find that the state matter was
 related to this case, then the ultimate sentence should be adjusted downward by at least 6-months to
 account for the difference and “achieve a reasonable punishment for the instant offense.” USSG §5K2.23.
                                                       3
Case 1:19-cr-00283-WFK Document 56 Filed 03/09/23 Page 4 of 7 PageID #: 186




  Ct. 3217 (1984)(emphasis added). (See also Pepper v. United States, 131 S. Ct. 1229
  (Sotomayor, J.)).

                        Sentencing After United States v. Booker

         The Supreme Court’s decision in United States v. Booker substantially altered a
 court’s obligation with respect to sentencing. The Sentencing Guidelines are of course no
 longer mandatory and while still important and instructive, they remain just one of
 several factors set forth in 18 U.S.C. § 3553(a) which a sentencing court must consider in
 determining a sentence that is “sufficient, but not greater than necessary, to comply with
 the purposes set forth in paragraph 2.” The stated purposes are:

                (A)    to reflect the seriousness of the offense, to promote
                       respect for the law, and to provide just punishment
                       for the offense;
                (B)    to afford adequate deterrence to criminal conduct;
                (C)    to protect the public from further crimes of the
                       defendant; and
                (D)    to provide the defendant with needed educational or
                       vocational training, medical care, or other
                       correctional treatment in the most effective manner.
 18 USC §3553(a)(2)

         To arrive at such a sentence, the Court is further directed to consider: (1) the
 nature and circumstances of the offense and the history and characteristics of the
 offender; (2) the kinds of sentences available; (3) the kinds of sentence and the
 sentencing range established in the Sentencing Guidelines; (4) policy statements issued
 by the Sentencing Commission; (5) the need to avoid unwarranted sentence disparities
 among similarly situated defendants; and (6) the need to provide restitution to any
 victims of the offense. See 18 U.S.C. § 3553(a)(1), (a)(3)-(7).

                          Personal History and Characteristics

         Mr. Mattei’s personal history and characteristics are addressed in the Offender
 Characteristics section (Part C) of the PSR. To summarize however, Adrian Alexander
 Mattei was born on May 27, 1987, in Brooklyn, New York. Mattei’s father Alberto
 Mattei, passed away in 2015, at age 67, after suffering from a stroke. His mother, Judith
 Maldonado, age 69, resides in Queens, New York. She is in good health and is a
 homemaker. Ms. Maldonado is aware of Mettei’s arrest and remains supportive of him.
 Mr. Mattei has two living full siblings and one full sibling who is deceased. Edwin Mattei,
 age 41, resides in Brooklyn, New York, with his three children and is in good health.
 Edwin was in and out of prison from the late 1990’s until 2014 for petit drug offenses.
 Jason Maldonado, age 38, resides in New York, New York, where he works in
 construction and is in good health. He is not married and has no children. Alberto Mattei
 passed away in 2008 from a gunshot wound.



                                             4
Case 1:19-cr-00283-WFK Document 56 Filed 03/09/23 Page 5 of 7 PageID #: 187




          Mr. Mattei also has six maternal half-siblings. Naomi Maldonado, age 50, Diana
 Maldonado, age 49, Ulysis Maldonado, Christian Maldonado, age 40s, Ruben Maldonado,
 age 40s, and Dorris Maldonado, age 36. Mattei was raised by his mother and older
 siblings in a lower-income household, in which his mother struggled to provide for the
 needs of her children. Ms. Maldonado received government assistance and his older siblings
 started working during their teenage years to help provide for the younger siblings. From
 a young age, Mattei was surrounded by numerous bad influences. His older siblings were
 involved with the “wrong crowds” and criminal activity. When he was only 13 years old,
 Mr. Mattei left home, started using drugs, and “bounced around” to different residences
 until 2004, when he was incarcerated the first time.

          Mr. Mattei has two young children from two prior relationships. Tartier Ruiz,
  age 13, resides with his mother Elizabeth and attends a private school in Brooklyn.
  Adrian Mattei, age 10, is autistic and resides with his mother Jessica Walker and attends
  a public school in Brooklyn. Mr. Mattei reported that he has a good relationship with
  both of his sons and that prior to his incarceration, he would see them both on a weekly
  basis and provide financial support when he was able.

           Regardless of the difficulties that he and his family have had in the past, three of
  Mattei’s siblings have written meaningful letters to the Court explaining their current
  circumstances and pledging their support for their brother. Mattei’s sister Doris
  Maldonado, a U.S. Customs Border Protection officer, writes that she “wants nothing
  more than to see my younger brother be an honest productive man in society. I know his
  past is far from something to be proud of and I don’t agree with any of his actions, but I
  know what he is capable of if he’s given the chance.” Edwin Mattei, Mattei’s brother
  who has done time himself, writes that “coming from the same place that he is now, I
  know first-hand that he will be more prone to succeed in becoming a model citizen
  through hard work, dedication, and supportive people in his life. I would take full
  responsibility for him and help him get to where I am today.” Finally, brother Ulysses
  Maldonado, who has also done time, writes, “I will always be thankful for being given a
  chance to be a productive part of society. Words are easy to say, but I try to live a life
  that speaks louder than words. My prayers are that Adrian will follow my example. He
  will definitely have my support and the support of his family.” See Exhibit A.

                      The Nature and Circumstances of the Offense

         The facts of this case are relatively straightforward. On four occasions in July and
 August of 2018, Mr. Mattei sold small quantities of heroin (some of which was mixed
 with fentanyl) to a confidential informant working for the FBI. The total weight of the
 controlled substances in question was less than two grams. The total amount spent by the
 CI to purchase the drugs over four separate sales was less than $400. Yet, the government
 seeks to parlay this relatively uncomplicated and, by federal standards, minor case into
 something greater than what it is by using what the defense has steadfastly argued is
 unrelated conduct. Moreover, still not satisfied with the result even under their version of
 the guidelines, the government now seeks a sentence in excess of the guidelines,
 something that should be reserved only for the most egregious and anomalous conduct.

                                               5
Case 1:19-cr-00283-WFK Document 56 Filed 03/09/23 Page 6 of 7 PageID #: 188




 The Court should reject the government’s request outright and, at most, impose a
 guidelines sentence of 24-months as requested above.

         Adrian Mattei is clearly a product of his environment. The defense concedes that
 this argument may be overused to some extent but here, it clearly applies. From a mere
 13-years old, Mattei was essentially homeless, bouncing around from place to place with
 no stable home, no money, no genuine opportunities, no education, and no positive role
 models.3 Thus, it should not come as a complete surprise that Mattei ultimately turned to
 using and selling drugs to support himself. Naturally, going in and out of jail has only
 made what was already a bad situation even worse. As the evidence at the Fatico hearing
 demonstrated, Mattei is coarse, argumentative, and controlling. Indeed, the same traits
 that helped him survive on the street are the same ones that frequently put him at odds
 with the law and in his personal relationships.

          The defense appreciates both the severity of the instant matter and the Court’s
 obligation to protect the community. Yet, Mr. Mattei’s life story has value and in many
 ways helps to explain his current circumstances. The question then is what to do now.
 The answer is not, as the government argues, to simply throw more jail time at Mattei,
 exceeding both what is necessary and what the guidelines recommend.4 The reality is that
 at this point, no matter which version of the guidelines range the Court chooses to apply,
 Mattei has done his time. Four years in jail for $360 worth of heroin is certainly long
 enough to adequately reflect the seriousness of Mattei’s offense, promote respect for the
 law, and provide just punishment for his offense, even if the Court were to factor in his
 domestic transgressions as well.5

         The answer can be found in Section 3553(a) itself, which speaks to the equally
 important sentencing goal of rehabilitation. The statute requires that the Court “provide
 the defendant with needed educational or vocational training . . . in the most effective
 manner.” 18 USC §3553(a)(2)(D). At this point, that is best accomplished by a period of
 supervised release, not even more prison time. Mattei must be provided with the support
 and tools he needs to become a productive, and law-abiding member of society. As the
 attached letters from his family attest, Mattei is not beyond saving and has the potential to
 succeed. Indeed, even in an environment like MDC where resources are scarce and hard
 to come by, Mattei has managed to show the Court that he is serious about his

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   Not surprisingly, there exists a considerable amount of research which suggests that children raised in
 households lacking a father experience psychosocial problems with greater frequency than children with a
 father in the home. These problems have been found to extend into adolescence and adulthood and include
 an increased risk of substance use, depression, suicide, poor school performance, and contact with the
 criminal justice system.
 https://www.mnpsych.org/index.php%3Foption%3Dcom_dailyplanetblog%26view%3Dentry%26category
 %3Dindustry%2520news%26id%3D54
 4
   Notably, Mattei has done his time under incredibly difficult circumstances. He tested positive for
 COVID-19 in 2021 and has been incarcerated throughout the entire COVID-19 pandemic. See Exhibit D.
 Moreover, unlike BOP prison facilities, for numerous reasons, MDC is simply not suitable for long-term
 incarceration. Yet, as Probation reports, Mattei “has had no disciplinary incidents while in custody.” PSR
 ¶49.
 5
   Conduct which has already been accounted for by both the government’s version of the guidelines as well
 as his prior NYS sentence for the same conduct.
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Case 1:19-cr-00283-WFK Document 56 Filed 03/09/23 Page 7 of 7 PageID #: 189




 rehabilitation by regularly attending bible study and availing himself of the few self-help
 classes that the jail has to offer. See Exhibits B&C.

         To be sure, Adrian Mattei is certainly no angel. But frankly, given the arc of his
 life, we shouldn’t expect him to be. In this case though, he has served his time and
 deserves a chance to show the Court, his family, and maybe even himself that if given the
 proper supervision and support, he can succeed and be a productive member of society.

                            Sentence Request and Conclusion

         Admittedly, Adrian Mattei has committed a serious crime and must be punished
 accordingly. Here, a guidelines sentence of 24-months is sufficient. Anything more
 would be too severe and work an injustice because the sentence would be greater than
 what is necessary to achieve the goals and purposes of sentencing. Given all of the
 §3553(a) factors discussed above, a guidelines sentence would adequately reflect the
 seriousness of Mr. Mattei’s offense, promote respect for the law, and provide just
 punishment for his offense.

        Thank you.


                                                      Respectfully submitted,


                                                      _________________________
                                                      Matthew J. Kluger
                                                      Attorney for Adrian Mattei


 cc:    AUSA Nicholas Moscow
        AUSA Chand Edwards-Balfour




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